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                                                                  USDC-SDNY
UNITED STATES DISTRICT COURT
                                                                  DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                     ELECTRONICALLY FILED
                                                                  DOC#:
 DEBRA ZANCA, on behalf of herself and all                        DATE FILED: 1-11-21
 others similarly situated,

                             Plaintiff,
                                                                    20-CV-6971 (RA)
                        v.                                               ORDER
 NAILS INC. USA,

                             Defendant.



RONNIE ABRAMS, United States District Judge:

         Due to a scheduling conflict, the initial pretrial conference scheduled for January 15, 2021 at

1:30 pm is hereby rescheduled for January 15, 2021 at 11:00 am.

SO ORDERED.

Dated:      January 11, 2021
            New York, New York

                                                  RONNIE ABRAMS
                                                  United States District Judge
